                           IN THE UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

CARRIER CORPORATION,

       Plaintiff,                                 CASE NO.:

                      v.

TECHNOLOGY RESEARCH, LLC,
F/K/A TECHNOLOGY RESEARCH
CORPORATION,

      Defendant.
________________________________/

                    DEFENDANT TECHNOLOGY RESEARCH, LLC’S
                             NOTICE OF REMOVAL

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

       PLEASE TAKE NOTICE that Defendant Technology Research, LLC (“TRC”) hereby

removes the above-captioned action to this Court from the County Court of the Sixth Judicial

Circuit of the State of Florida, County of Pinellas (Civil Action No. 20-005515-CI) (the “State

Action”). As set forth herein, TRC has complied with the statutory requirements for removal

under 28 U.S.C. §§ 1441 and 1446, and this Court has diversity jurisdiction over this action

pursuant to 28 U.S.C. § 1332(a).

I. PROCEDURAL REQUIREMENTS

       1.      The State Action was commenced by filing in the County Court of the Sixth

Judicial Circuit, State of Florida, County of Pinellas, on November 20, 2020. A copy of

Plaintiff’s Complaint is attached at Exhibit A, and copies of all other process, pleadings, and

orders, and other papers or exhibits of every kind now on file in the State Action are attached at

Exhibit B, as required by 28 U.S.C. § 1446(a) and Local Rule 4.02(b).
       2.       TRC was served with the Summons and Complaint in the State Action on

December 14, 2020.

       3.       This Notice is timely, as it is filed within 30 days of TRC’s receipt of a copy of

the summons and initial pleading in the State Action. See 28 U.S.C. § 1446(b)(1).

       4.       The State Action is properly removed to the United States District Court for the

Middle District of Florida, Tampa Division, as that is the “district and division embracing the

place where [the State Action] is pending.” See 28 U.S.C. § 1441(a); see also 28 U.S.C. § 89(b);

L.R. 1.02(b).

       5.       TRC will promptly file a copy of this Notice of Removal with the clerk of the

Florida County Court, Sixth Judicial Circuit, Pinellas County, and will serve a copy on the other

parties to the State Action, as required by 28 U.S.C. § 1446(d).

II.   GROUNDS FOR REMOVAL

       6.       This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332

because there is complete diversity between the parties, and the amount in controversy, exclusive

of interest and costs, exceeds $75,000.

A.    There is Complete Diversity Between the Parties.

       7.       Plaintiff Carrier Corporation (“Carrier”) is, and was when this action was filed, a

citizen of Delaware (incorporating state) and Florida (principal place of business). See 28

U.S.C.A. § 1332(c)(1).

       8.       Defendant TRC is a limited liability company. TRC’s sole member is Southwire

International Holdings, Inc., which is a Georgia corporation with its principal place of business

in Carrollton, Georgia. See Declaration of Burt Michael Fealing attached at Exhibit C. “[A]

limited liability company is a citizen of any state of which a member of the company is a


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citizen.” Rolling Greens MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d 1020, 1022 (11th

Cir. 2004). “[C]orporations are citizens in the states of their incorporation and their principal

place of business.” Id. at 1021 n.1 (28 U.S.C. §1332(c)(1)). Accordingly, Southwire International

Holdings, Inc. is a citizen of the state of Georgia, as is TRC.

B.    The Amount in Controversy Exceeds $75,000.

        9.      Carrier alleges claims for contractual and common-law indemnification and seeks

reimbursement of the costs (including attorneys’ fees) it paid in litigating and settling a certain

personal-injury suit. The Civil Cover Sheet filed by Carrier in the state court action indicates the

amount of Plaintiff’s claim exceeds $100,000.00. See Exhibit B at p. 4.

III. RESERVATION OF RIGHTS

        10.     TRC denies the allegations contained in Plaintiff’s Complaint, and files this

Notice of Removal without waiving any defenses, objections, exceptions, or obligations that may

exist in its favor.


Dated: January 4, 2021                         Respectfully submitted,

                                               /s/ Courtney M. King, Esq.
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                                            Attorneys for Defendant,
                                            Technology Research, LLC



                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on January 4, 2021, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to:

      R. Ryan Rivas, Esq., Hall Booth Smith, P.C., 22202 North Westshore Blvd., Suite 200,
Tampa, Florida 33607, RRivas@hallboothsmith.com, Attorneys for Plaintiff


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